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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 14-1219V
                                   Filed: March 25, 2016

*************************                                 UNPUBLISHED
JULIE MOUNTS on behalf of                   *
and as next friend for M.M.,                *
                                            *             Special Master Hamilton-Fieldman
                       Petitioner,          *
                                            *
v.                                          *             Petitioner’s Motion for Dismissal
                                            *             Decision; Varicella Vaccine;
SECRETARY OF HEALTH                         *             Diptheria-Tetanus-acellular-Pertussis
AND HUMAN SERVICES,                         *             (“DTaP”) Vaccine; Meningococcal
                                            *             Vaccine; Chronic Urticaria; Chronic
                       Respondent.          *             Hives.
*************************
Verne E. Paradie, Jr., Paradie, Sherman, Walker & Worden, Lewiston, ME, for Petitioner.
Christine Becer, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION 1

        On December 22, 2014, Julie Mounts (“Petitioner”) filed a petition for compensation on
behalf of a minor child, M.M., under the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-1 et seq. (2006) (“Vaccine Act”). Petitioner alleged that the administration of
Varicella, Diptheria-Tetanus-acellular-Pertussis (“DTaP”), Meningococcal Vaccines on May 23,
2012 caused M.M. to suffer from chronic urticarial and chronic hives, as well as episodes of
shakiness, chest pain, hyperventilating, depression, leg pain, headaches and related symptoms.
The undersigned now finds that the information in the record does not show entitlement to an
award under the Program.

      On March 25, 2016, Petitioner filed a Motion for a Decision Dismissing her Petition.
According to the motion, “[a]n investigation of the facts and science supporting her case has
demonstrated to petitioner that she will unable to prove that she is entitled to compensation in the
1
 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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Vaccine Program.” Accordingly, Petitioner has determined that “to proceed further would be
unreasonable and would waste the resources of the Court, the Respondent, and the Vaccine
Program.” Petitioner further states that she understands that a dismissal decision will result in a
judgment against her, and that such a judgment will end all of her rights in the Vaccine Program.

       To receive compensation under the Vaccine Act, Petitioner must prove either 1) that
M.M. suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to her vaccination, or 2) that M.M. suffered an injury that was actually caused by
a vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An examination of the record did not
uncover any evidence that M.M. suffered a “Table Injury.” Further, the record does not contain
a medical expert’s opinion or any other persuasive evidence indicating that M.M.’s injuries were
caused by a vaccination.

        Under the Vaccine Act, a petitioner may not be awarded compensation based solely on
the petitioner’s claims alone. Rather, the petition must be supported by either medical records or
by the opinion of a competent physician. § 300aa-13(a)(1). In this case, because the medical
records are insufficient to establish entitlement to compensation, a medical opinion must be
offered in support. Petitioner, however, has offered no such opinion.

       Therefore, the only alternative remains to DENY this petition. Thus, this case is
dismissed for insufficient proof. In the absence of a motion for review, the Clerk shall
enter judgment accordingly.

       IT IS SO ORDERED.

                                                     /s/Lisa D. Hamilton-Fieldman
                                                     Lisa D. Hamilton-Fieldman
                                                     Special Master




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